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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR08-190-TSZ
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   KENNETH SOLBERG,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Heroin; Distribution of Heroin (two counts);

15                         Possession of an Unregistered Machine Gun

16 Date of Detention Hearing:      June 13, 2008

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.      Defendant has been charged with a drug offense the maximum penalty of which

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e).

03          2.      Defendant does not have a stable employment or residence history. He has family

04 in the area but does not have a close relationship with them. His lengthy criminal history includes

05 numerous drug charges with some history of failing to appear as recently as May 2008. There is

06 information indicating serious drug addiction problems.

07          3.      Taken as a whole, the record does not effectively rebut the presumption that no

08 condition or combination of conditions will reasonably assure the appearance of the defendant as

09 required and the safety of the community.

10 It is therefore ORDERED:

11          (1)     Defendant shall be detained pending trial and committed to the custody of the

12                  Attorney General for confinement in a correction facility separate, to the extent

13                  practicable, from persons awaiting or serving sentences or being held in custody

14                  pending appeal;

15          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

16                  counsel;

17          (3)     On order of a court of the United States or on request of an attorney for the

18                  Government, the person in charge of the corrections facility in which defendant

19                  is confined shall deliver the defendant to a United States Marshal for the purpose

20                  of an appearance in connection with a court proceeding; and

21          (4)     The clerk shall direct copies of this Order to counsel for the United States, to

22                  counsel for the defendant, to the United States Marshal, and to the United States

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               Pretrial Services Officer.

02         DATED this 13th day of June, 2008.



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04                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                   15.13
     18 U.S.C. § 3142(i)                                                            Rev. 1/91
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